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13 SmileDirectClub, LLC., and Jeffrey Sulitzer

14                                            UNITED STATES DISTRICT COURT
                                            NORTHERN DISTRICT OF CALIFORNIA
15                                          SAN FRANCISCO/OAKLAND DIVISION

16                 ARNOLD NAVARRO, on behalf of himself and
                   others similarly situated
17                                                                 CASE NO. 3:22-CV-00095-WHO
                               Plaintiff,
18
                         v.                                        DECLARATION OF MICHAEL D.
19                                                                 MEUTI IN SUPPORT OF DEFENDANTS’
                   SMILEDIRECTCLUB, INC.;                          MOTION TO COMPEL ARBITRATION
20                 SMILEDIRECTCLUB, LLC;
                   JEFFREY SULITZER; DOES 1–10
21
                                Defendants.
22

23                                          DECLARATION OF MICHAEL D. MEUTI:

24                      I, Michael D. Meuti, declare as follows:

25                      1.     I am a member in good standing of the State Bar of California, a member in good

26 standing of the bar of this Court, and a partner at Benesch, Friedlander, Coplan & Aronoff, LLP,

27 attorneys representing Defendants in the above-captioned case. I have personal knowledge of the

28 facts set forth herein, except where noted, and, if called to testify, could and would testify
                    DECLARATION OF MICHAEL D. MEUTI IN SUPPORT OF DEFENDANTS’ MOTION TO COMPEL
                                                     ARBITRATION
     15662390 v1
                                               Case No. 3:22-cv-00095-WHO
                   Case 3:22-cv-00095-WHO Document 49 Filed 05/06/22 Page 2 of 3




 1 competently thereto.

 2                    2.    On May 6, 2022, I accessed SmileDirectClub’s current aligner-kit checkout page at

 3 https:// https://smiledirectclub.com/checkout/ That URL represents the first page of SDC’s checkout

 4 page, as depicted in Exhibit 1 to the Supplemental Skinner Declaration. I used the Microsoft Edge

 5 browser on a laptop computer to access that URL and all other websites identified in this

 6 Declaration.

 7                    3.    On the same day, I also accessed the Wayback Machine, a website that archives

 8 certain internet webpages, at https://web.archive.org.               I used the Wayback Machine’s search

 9 function to search for archived pages of https://smiledirectclub.com/checkout/ on or around April

10 23, 2020.

11                    4.    That search revealed archived pages of https://smiledirectclub.com/checkout/ dated

12 January 26, 2020, and June 18, 2020. Those were the two dates closest to April 23, 2020, that

13 contained archived pages of https://smiledirectclub.com/checkout/ .

14                    5.    Exhibit 1 to this Declaration is a true and correct screen shot of the January 26, 2020,

15 archive of https://smiledirectclub.com/checkout/ , as contained in the Wayback Machine. I used the

16 Windows Snipping Tool to take that screen shot and all other screen shots referenced in this

17 Declaration.

18                    6.    Exhibit 2 to this Declaration consists of true and correct copies three screen shots of

19 the January 26, 2020 archive of https://smiledirectclub.com/checkout/ , as contained in the Wayback

20 Machine—one for each column on that webpage. I took these additional screenshots to provide

21 larger images of the text that appeared on the archived webpage than was possible in Exhibit 1, in

22 light of page-size limitations.

23                    7.    Exhibit 3 to this Declaration is a true and correct screen shot of the June 18, 2020

24 archive of https://smiledirectclub.com/checkout/ , as contained in the Wayback Machine.

25                    8.    Exhibit 4 to this Declaration consists of true and correct copies three screen shots of

26 the June 18, 2020 archive of https://smiledirectclub.com/checkout/ , as contained in the Wayback

27 Machine—one for each column on that webpage. As with Exhibit 2, I took these additional

28                                                              2
                   DECLARATION OF MICHAEL D. MEUTI IN SUPPORT OF DEFENDANTS’ MOTION TO COMPEL
                                                    ARBITRATION
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                   Case 3:22-cv-00095-WHO Document 49 Filed 05/06/22 Page 3 of 3




 1 screenshots to provide larger images of the text that appeared on the archived webpage than was

 2 possible in Exhibit 3, in light of page-size limitations.

 3                    9.     When I accessed the January 26, 2020 and June 18, 2020 archived versions of

 4 https://smiledirectclub.com/checkout/ , I was not able to progress through the checkout process, as

 5 the archived webpages lack the “Continue” button at the bottom of the first screen’s right-most

 6 column.

 7                    10.    I tried to identify a specific URL for the checkout process’s second screen. When I

 8 progressed                to    the     second     screen     on    the     currently    “live”   version   of

 9 https://smiledirectclub.com/checkout/ , my browser revealed the same URL as in the first screen,

10 which prevents me from identifying archives of the second checkout screen in the Wayback

11 Machine.

12

13                    I declare under penalty of perjury that the foregoing is true and correct.

14

15 DATE: May 6, 2022                                        /s/Michael D. Meuti
                                                            Michael D. Meuti (SBN: 227939)
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                   DECLARATION OF MICHAEL D. MEUTI IN SUPPORT OF DEFENDANTS’ MOTION TO COMPEL
                                                    ARBITRATION
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